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Exhibit 6
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Filed Electronically

UNITED STATES DISTRICT COURT

 

STEPHEN OMEGBEHIN,
Plaintiff(s),
v.

MARIA CINO, ACTING SECRETARY
OF THE DEPARTMENT OF
TRANSPORTATION,

Defendant(s).

 

 

I, INTRODUCTION

DISTRICT OF NEW JERSEY

Hon. JOSEPH E. IRENAS
Civil Action No. 06-4581

DEFENDANT’S OPPOSITION
TO PLAINTIFF'S
MOTION TO COMPEL

Plaintiff Stephen Omogbehin seeks to compel Defendant in the above-

entitled matter to produce the physical backup tape containing the Lotus Notes

email inboxes of all FAA Tech Center employees, the physical backup tape

containing all the voice mail inboxes of all FAA Tech Center employees, as well as

the physical desktop and laptop computers used by Plaintiff during his

employment with the FAA Tech Center. See Plaintiffs Memorandum at 2.

Defendants oppose the production of the Lotus Notes backup tape on the

grounds that (i) producing the tape would be cumulative and duplicative, as the
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DECLARATION OF GARY ALBERT

I, Gary Albert, declare under penalty of perjury that the following statements are true to
the best of my knowledge, information provided to me, and/or belief:

1. fam employed at the William J. Hughes Technical Center (“Tech Center”) where I am
the manager of the Enterprise Data Center.

2, At the time Stephen Omogbehin was employed at the Tech Center, I was the manager of
the Information Technology Services Group, and thereafter became the acting manager of the
Information Technology Division.

3. As an information technology manager, I have knowledge of the information technology
operations at the Tech Center, including the email system used by Tech Center employees.

4. Email users at the Tech Center operate their accounts through a program known as Lotus
Notes, which is a network based email system, Each employee has their own individual account
on the Lotus Notes network. There are nearly 3000 federal and contract employees at the Tech
Center,

5. There are two methods in which employee email is retained — (a) Lotus Notes backups
and (b) employee archiving.

6. Email accounts are backed-up nightly onto tapes by the Information Technology staff.
This includes email and electronic calendar information currently on the Lotus Notes server.
The nightly backup tape does not include material that has either been deleted or that has been
archived by the employee in the twenty-four hour period between that last nightly backup.

7, The nightly Lotus Notes backup is recorded to a data tape which includes every employee
at the Tech Center, including numerous high ranking officials such as the Tech Center Director,
the Federal Aviation Administration’s (“FAA”) Chief Scientist, and the FAA’s Director of
Airport and Aircraft Safety.

8. Additionally, many employees at the Tech Center have security clearances for varying
levels of classified information, including information contained in email and attachments to
email,

9. Email is also retained by permanently moving email and electronic information from the
employee’s Lotus Notes account to either the hard disk drive (“HDD”) on the computer assigned
to the employee for their use, or some other HDD, such as a shared HDD, where such
information is stored as an archive,

10. The archive is personal to the user. It is not backed-up as part of the Lotus Notes backup
process.
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11. The archiving of information is necessary because of size limits for Lotus Notes
accounts, which was limited to 80 megabytes of information (at the time Stephen Omogbehin
was employed) for each employee’s account. Once this limit is reached the employee must
either delete information, or move information to the personal archive.

12. When Lotus Notes is installed on an employee’s computer, automatic archiving of
electronic information to the employee computer’s HDD for information over thirty (30) days
old is set as the default. An employee may thereafter adjust the default settings, such as
increasing the number of days for automatic archiving, or changing the location of the stored
archived information.

13. On the day Stephen Omogbehin was terminated, the Lotus Notes backup tape, which
included every employee's account, was preserved. The backup tape that was preserved was the
nightly backup for April 22, 2004, the day before Stephen Omogbehin was terminated, as the
backup for April 23, 2004, had not yet been created. Again, the Lotus Notes backups did not
include archived electronic information which was stored separately by each employee either on
their computer’s HDD, or some other HDD to which they had access.

14. When a Lotus Notes backup tape is loaded onto the Lotus Notes system, all employee
accounts stored on the tape are accessible. An individual employee’s email account (and all its
contents) can then be restored by downloading that person’s account from the tape onto a CD. .

15. During the course of the district court litigation, Agency Counsel Jay Fox requested that 1
obtain the email from restored Lotus Notes backup tapes (from the nightly backup of April 22,
2004) from a number of employees for the dates September 7, 2003 to April 27, 2004. These
employees included myself, Shelley Yak, Sue Lake, Bob Linn, Cindy Keiser-Ellis, Allan
Cannizzaro, Ron Smith, Tom Christian, and Stephen Omogbehin.

16. In order to comply with this request, I asked Cleve Laswell, the then Lotus Notes
Administrator, to load the backup tape onto the system and download to CD the Lotus Notes
files for each of the above individuals.

17, Cleve Laswell gave me CDs that included the Lotus Notes files from the backup tape of
myself, Shelley Yak, Sue Lake, Bob Linn, Cindy Keiser-Ellis, Allan Cannizzaro, Tom Christian,
Ron Smith and Stephen Omogbehin. I provided these CDs to Agency Counsel Jay Fox for
production. I did not delete or remove any electronic information from these CDs in any
manner.

18. Jay Fox also requested that I obtain the archived emails for the same individuals that
were stored on each one’s desktop HDD. Shelley Yak, Sue Lake, Bob Linn, Cindy Keiser-Ellis,
Allan Cannizzaro were instructed to copy their archived email folders onto a system shared HDD
(Christian, Smith and Omogbehin were no longer employed by the FAA at the time of this
request). I moved my archived email folder there as well. Once the employees had moved their
archived email files to the shared HDD, I instructed Cleve Laswell to download the archived
emails to CDs. Cleve provided me with CDs containing the archived email files for myself,
Shelley Yak, Sue Lake, Bob Linn, Cindy Keiser-Ellis, and Allan Cannizzaro. I provided these
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CDs to Agency Counsel Jay Fox. I did not delete or remove any electronic information from
these CDs in any manner.

19. No archived emails for Thomas Christian or Ron Smith were ever downloaded or
produced on CD. By the time the request for such archived emails were made, they had left their
employment and their hard disk drives had been recycled in the ordinary course of business.

20. As for Stephen Omogbehin’s archived email, 1 obtained Stephen’s laptop computer from
Margaret Lattanzi-Baird, who was responsible for its preservation. 1 brought the laptop to Cleve
Laswell so that he could download any emails archived on the laptop HDD,

21. Cleve reported to me that Stephen had not archived his emails information on the laptop’s
hard disk drive, Instead, he had archived his information to a shared HDD on the larger system
network,

22. By 2007, the shared HDD in which Stephen Omogbehin archived his information was no
longer available. It was recycled as part of routine information technology maintenance
procedures.

23. However, in or about 2005, during the administrative EEO proceedings, Cleve Laswell
was asked to produce all of Stephen Omogbehin’s emails for Agency Counsel. Cleve consulted
with me about the form in which those emails should be produced, and Agency Counsel
instructed me that these should be printed and produced.

24. Cleve notified me when he had completed this task, and told me that he had printed
approximately 5000 pages of Stephen Omogbehin’s email. This estimate is based upon the
amount of produced printed material, which filled a box used for a standard case of copy paper
(approximately 10 reams of copy paper).

25. I notified Agency Counsel Jay Fox that the emails had been printed.

26, In or about 2007, | asked Cleve where he had located the emails he had printed in 2005.
Cleve informed me that he took the emails from Stephen’s files located on the Lotus Notes
backup tape, as well as from an email archive that Stephen had maintained on shared HDD on
the larger system network. Accordingly, although the archived emails were not produced on CD

during the district court litigation in 2007, they had already been produced once in print form in
2005.

27. — In or about May 2004, Carl Henry provided me, as the IT manager and former manager
of Stephen Omogbehin, with a CD he created from information downloaded from the HDDs of
the laptop and desktop computers assigned to Stephen Omogbehin. At the time the CD was
provided to me, I understood it to contain a full copy (‘mirror images”) of the contents of each
computer’s HDD.
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28. During the course of this litigation, Agency Counsel Jay Fox requested a copy of the CD.
I copied the CD and provided it to him. I did not delete or remove any electronic information
from the CD during replication.

29. In preparing this declaration, Jay Fox asked me to confirm the contents of the CD which 1
believed to contain the mizror images of Stephen Omogbehin’s desktop and laptop HDDs. I
reviewed the CD alongside Carl Henry, who had originally produced it. Carl stated that the CD
only contained Lotus Notes files. Thereafter, Jay Fox asked Carl to immediately make a full
mirror image of Stephen’s laptop computer, which he had in his possession.

30. In order to ensure that a full mirror image for Stephen’s desktop HDD was made, I
looked for the desktop in the location where I last believed it to be secured, the office of
Margaret Lattanzi-Baird. I could not find the desktop computer. I searched the asset inventory
record system for the FAA, looking for the barcode of the desktop computer. I determined from
the record system that the desktop computer had been “salvaged,” that is, sent to an outside

GAN

Gary Albért

William J. Hughes Technical Center
Federal Aviation Administration
Department of Transportation

DATED: Ape! 25, 2008
 

 

 

 

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DECLARATION OF ADRIENNE CALDERONE

i, Adrienne Calderone, deciare under penaity of perjury that the following statements are
true to the best of my knowledge, information provided to me, and/or belief:

I. [ am employed as a telecommunications specialist at the William J. Hughes Technical
Center (“Tech Center”), and I was similarly employed as a telecommunications specialist at the
time Stephen Omogbehin was employed at the Tech Center.

2. As a telecommunications specialist, | have knowledge of the telephone voice mail system
utilized at the Tech Center.

3. At the time Stephen Omogbehin was empicyed at the Tech Center, the telephone voice
mail system was supplied by Nortel Government Solutions.

4, The entire telephone voice mail system, which contained the telephone voice mail
accounts of all federal and contract employees at the Tech Center, including phone messages
preserved by employees, was backed-up at two-week intervals on to a backup tape.

5, The voice mail backups included every employee at the Tech Center, inciuding numerous
high ranking officials such as the Tech Center Director, the Federal Aviation Administration's
(“FAA”) Chief Scientist, and‘the FAA’s Director of Airport and Aircraft Safety

6. In response to a request by Agency Counsel for Stephen Omogbehin’s preserved voice
mails, and at significant expense to the agency without a guarantee of success, Nortel performed
a restoration of two sets of backup tapes — one from Aprii 9, 2004 and one from Aprii 27, 2004 -
in an attempt to retrieve Stephen Omogbehin’s preserved voice mails (See communications from
Nortel dated June 5, 2007, and October 5, 2007, respectively marked as Exhibits 1 and 2).

7. The tapes from April 9 were unreadable. This could be because of the age of the tape, the
. number of times the tape was recorded over, or the tape could have otherwise been datnaged or
corrupted. The tapes from April 27 were successfully read and four voicemaiis for Stephen
Omogbehin were sent to the FAA via .wav file. Both sets of tapes were returned to the FAA.

8. As a result of Nortel’s restoration efforts, four voice messages were retrieved, recorded in
digital format, and provided to Agency Counsel. I did not alter, delete or remove in any manner
any of the voicemails retrieved from the tapes.

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Adrienne Calderone
William J. Hughes Technical Center
Federal Aviation Administration

at Joy Department of Transportation
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DECLARATION OF JAY M. FOX

I, Jay M. Fox, declare under penalty of pexjury that the following statements are
true to the best of my knowledge, information provided to me, and/or belief:

1. Iam employed as Agency Counsel at the William J. Hughes Technical Center
(“Tech Center”) where I am responsible for the processing of employment litigation.

2, I was lead counsel for the underlying EEOC proceedings in the matter of Stephen
Omogbehin v. Department of Transportation, EEOC Hearing No. 170-2005-0044X.
During those proceedings I was responsible for the processing of all discovery requests
made by Stephen Omogbehin, the complainant. In that capacity, I became familiar with
various information technology systems and procedures used at the FAA TechCenter.

3. As Agency Counsel, I have been the Agency point of contact in this District Court
litigation for the processing of all discovery requests, including electronic discovery
requests, made by Stephen Omogbehin, the plaintiff. In nry representation of the agency
during these proceedings, I became familiar with various information technology systems
and procedures used at the FAA TechCenter. If called to testify, I could and would
testify truthfully as follows:

4, In this litigation, plaintiff has requested the electronic mail (“email”) files of the
following individuals: Stephen Omogbehin, Shelley Yak, Gary Albert, Sue Lake, Robert
Linn, Thomas Christian, Alan Cannizzaro, Ron Smith, and Cindy Keiser-Ellis. The
requested range of dates for the emails was from September 2003, the month of

plaintiff's hiring, to April 27, 2004, four days after plaintiff was terminated.

5. Email users at the Tech Center operate their accounts through a program known
as Lotus Notes, which is a network based email system. Each employee has their own
individual account on the Lotus Notes network, There are nearly 3000 federal and
contract employees at the Tech Center.

6. There are two methods in which employee email is retained — (a} Lotus Notes:
backups and (b) employee archiving.

7. Email accounts are backed-up nightly by the Information Technology staff. This
includes email and electronic calendar information currently on the Lotus Notes server.
The nightly backup does not include material that has either been deleted or that has been
archived by the employee in the twenty-four hour period between that last nightly
backup.

8. The nightly Lotus Notes backup is recorded to an electronic medium which
includes every employee at the Tech Center, including numerous high ranking officials
such as the Tech Center Director, the Federal Aviation Administration’s (“FAA”) Chief
Scientist, and the FAA’s Director of Airport and Aircraft Safety.
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9. Additionally, many employees at the Tech Center have security clearances for
varying levels of classified information, including information contained in emai] and

attachments to email.

10. Email is also retained by permanently moving email and electronic information
from the employee’s Lotus Notes account to either the hard disk drive (“HIDD”) on the
computer assigned to the employee for their use, or some other HDD, such as a shared
HDD, where such information is stored as an archive,

11, The archive is personal to the user, It is not backed-up as part of the Lotus Notes
backup process.

12. The archiving of information is necessary because of size limits for Lotus Notes
accounts, which was limited to 80 megabytes of information (at the time plamtiff was
employed) for each employee’s account. Once this limit is reached the employee must
either delete information, or move information to the personal archive.

13. | When Lotus Notes is installed on an employee’s computer, automatic archiving of
electronic information to the employee computer’s HDD for information over thirty (30)
days old is set as the default. An employee may thereafter adjust the default settings,
such as increasing the number of days for automatic archiving, or changing the location
of the stored archived information.

14.  Onthe day plaintiff was terminated, the Lotus Notes backup, which included
every employee’s account, was preserved. The backup that was preserved was the
nightly backup for April 22, 2004, the day before plaintiff was terminated, as the backup
for April 23, 2004, had not yet been created. Again, the Lotus Notes backups did not
include archived electronic information which was stored separately by each employer
either on their computer’s HDD, or some other HDD to which they had access.

15. | When a Lotus Notes backup tape is loaded onto the Lotus Notes system, all
employee accounts stored on the tape are accessible. An individual employee’s email
account (and all its contents) can then be restored by downloading that person’s account
from the tape onto a CD.

16. In 2007, in response to discovery requests in the district court litigation, I asked
Gary Albert, the Tech Center’s Information Technology Manager, to restore the email
accounts from the Lotus Notes backup tapes (from the nightly backup of April 22, 2004),
for a number of employees, for the dates September 7, 2003, to April 27, 2004. These
employees included Gary Albert, Shelley Yak, Sue Lake, Bob Linn, Cindy Keiser-Ellis,
Allan Cannizzaro, Ron Smith, Tom Christian, and Stephen Omogbehin. .

17, Gary provided me with CDs that contained the Lotus Notes files from the backup
tapes for the above individuais.
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18. I produced the CDs for Gary Albert, Shelley Yak, Sue Lake, Bob Linn, Cindy
Keiser-Ellis, and Stephen Omogbehin, unaltered and in their entirety, to Assistant United
States Attorney (AUSA) Jafer Aftab to produce to Plaintiff's counsel. I did not delete or
remove any electronic information from these CDs in any manner.

19. Alan Cannizzaro is a Labor Relation specialist employed at the Tech Center,
Therefore, J reviewed the contents of his email folder on the CD, and produced only
information pertaining to the plaintiff to the AUSA.

20. Thomas Christian was a Labor Relation specialist employed at the Tech Center.
Therefore, I reviewed the contents of his email folder on the CD, and produced only
information pertaining to the plaintiff to the AUSA.

21. Ron Smith was the manager of Human Resources at the Tech Center. Therefore,
I reviewed the contents of his email folder on the CD, and produced only information
pertaining to the plaintiff to the AUSA.

22. Also in 2007, in response to discovery requests in the district court litigation, I
asked Gary Albert to download the archived emails of Shelley Yak, Sue Lake, Bob Linn,
Cindy Keiser-Ellis, Alan Cannizzaro and Stephen Omogbehin from their desktop HDDs.
Because Thomas Christian and Ron Smith had left their employment by that time, their
hard disk drives had been recycled and no archived information existed for them.

23, Gary Albert provided me with CDs that contained the archived email files of
Shelley Yak, Sue Lake, Bob Linn, Cindy Keiser-Ellis, Alan Cannizzaro, as well as his
own archived email files. I provided these CDs to Assistant United States Attomey
(AUSA) Jafer Aftab to produce to Plaintiff's counsel. With the exception of Alan
Cannizzaro, I did not delete or remove any electronic information from these CDs in any
manner. Because Alan was a Labor Relation specialist, I produced only those emails
from his archive which pertained to Plaintiff. .

24. Gary was unable to provide me with a CD containing Stephen Omogbehin’s
archived emails. He explained to me that Stephen had not archived his emails to the
HDD of his laptop, but had been archiving his information to a shared HDD on the larger

system network.

25. Gary further informed me that at the time the district court litigation discovery
requests were made, the shared HDD in which Stephen archived his information was no
longer available. It had been recycled as part of routine information technology
maintenance procedures,

26. Fortunately, the shared HDD containing plaintiff's archived email still existed in
2005, during Stephen Omogbehin’s EEOC proceedings.
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27. Pursuant to a discovery request made during the EEOC proceedings im 2005, I had
requested that IT personnel print a copy of all of Stephen Omogbehin’s Lotus Notes
emails.

28. Cleve Laswell gave me approximately 5000 pages of plaintiff's printed email
material, This estimate is based upon the amount of produced printed material, which
filled a box used for a standard case of copy paper (about 10 reams of paper). I produced
these printed emails to Stephen Omogbehin’s counsel in the EEOC proceedings. A true
and correct copy of the cover letter sent to his counsel with the printed material is
attached hereto as Exhibit 1

29. In response to inquiries I made in 2007, Cleve Laswell informed me that the
emails he printed and produced to me in 2005 were taken from Lotus Notes backup tapes
and the shared HDD where Stephen had archived email. Accordingly, Plaintiff has
already received printed copies of all of his email — both those in his inbox and those he
archived,

30. Emails from plaintiffs printed archive were marked and used by plaintiff as
exhibits at the hearing of the EEOC proceedings.

31. Inresponse to paragraph 6 of plaintiffs declaration, the electronic information on
the CDs was complete without deletions and when viewed in total (to be explained
momentarily) does not contain gaps.

32. In response to paragraph 6 of plaintiffs declaration, the only exception to
completeness was the electronic information produced for Alan Cannizzaro, Thomas
Christian, and Ron Smith, for the reasons set for in paragraphs 19, 20, 21 and 23 of my

declaration.

33. Inresponse to paragraph 7 of plaintiff's declaration, two CDs were created with
Sue Lake’s information, one with the restored Lotus Notes backup for her email account,
and one with her archived information. When reviewed together, there is no gap as
alleged by plaintiff. Any gap in the Lotus Notes backup is due only to the fact that Sue
Lake had archived information on the subject dates, In fact, there are over 200 emails,
email receipts and/or other entries from March 25, 2004, through April 7, 2004, in Sue
Lake's archived material. And over 3000 emails exist for the entire archive dates
requested - September 2003 - April 27, 2004.

34. In response to paragraph 8 of plaintiff’s declaration, two CDs were created with
Robert Linn’s information, one with the restored Lotus Notes backup for his email
account, and one with his archived information. When both sources are reviewed
together, there is no gap as alleged by plaintiff,

35. For the dates between February 24, 2004, and March 5, 2004, there are 14
separate emails contained on the CD of Robert Linn’s restored Lotus Notes backup.
These emails do not exist on the CD containing Robert Linn’s archived material,
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indicating that Robert Linn chose either not to archive that material, or he deleted the
emails prior to archiving for those dates. Either way, emails exist for those dates when
both sources of electronic information are viewed together.

36. For the dates between March 23, 2004, and April 11, 2004, there are 42 separate
emails on the CD containing Robert Linn’s restored Lotus Notes backup. These emails
do not exist on the CD containing Robert Linn’s archived material, indicating that Robert
Linn chose either not to archive that material, or he deleted the emails prior to archiving
for those dates. Either way, emails exist for those dates when both sources of electronic

information are viewed together.

37. Inresponse to paragraph 9 of plaintiff's declaration, there is voluminous calendar
information for both Gary Albert and Sue Lake on the CDs containing their archived
electronic information,

38, In order to access the aforementioned calendar information, one must mouse click
on a box in the top left comer which reads “Mail Archive.” By doing so, one can switch
to the calendar archive and access the calendar information for any archive which has
been provided pursuant to plaintiff's discovery requests. In fact, upon my review, the
calendar archives for both Gary Albert and Sue Lake actually go well beyond the
requested end date of April 27, 2004, with archived calendar dates going into 2005 for
Gary Albert and archived calendar dates going into 2007 for Sue Lake.

39. Upon a separate review of the archived electronic material of Robert Linn, no
calendar information was preserved indicating that Robert Linn either did not archive his
calendar or he deleted entries prior to archiving. However, calendar entries were
preserved in Robert Linn’s Lotus Notes backup.

40,  Inxresponse to paragraphs 10 through 12 of plaintiff's declaration, plaintiff's
restored Lotus Notes backup contains forty-one (41) email subfolders. Seventeen (17) of
the email subfolders are empty, most likely because the information in those subfolders
had been archived, as the oldest email in plaintiff's entire Lotus Notes backup is from
February 23, 2004, just two months before he was fired, and consistent with a user
designated automatic archive setting of sixty (60) days.

41. Aspreviously stated, plaintiff's emails from his archived information, although
printed as part of the EEOC proceedings, no longer exist in electronic format, and
therefore would not be found in any of the aforementioned subfolders.

42. Inresponse to paragraph 13 of plaintiff's declaration, and in similar vein to what
has just been stated regarding plaintiff's subfolders, many of Gary Albert’s restored
Louts Notes subfolders are empty, because the information in those subfolders had been
archived. Consistent with this assertion, when Gary Albert’s archived emails are viewed,
many of those same folders contain archived emails.
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43. In response to paragraph 13 of plaintiff’s declaration, Sue Lake advised me that
her email subfolders predate the use of Lotus Notes, and were created for the previous
email server system. Sue Lake informed me that she does not use subfolders to store her .
current or archived emails.

44, have reviewed the archived emails of Sue Lake (which as previously stated were
produced to the plaintiff). Sue Lake’s produced archive contains 3,312 emails.

45, In response to paragraph 14 of plaintiff's declaration, at the time plaintiff was
employed at the Tech Center, the telephone voice mail system was supplied by Nortel
Government Solutions.

46. The entire telephone voice mail system, which contained the telephone voice mail
accounts of all federal and contract employees at the Tech Center, including phone
messages preserved by employees, was backed-up at two-week intervals on to a backup

tape,

47, As with the Lotus Notes system, because the voice mail backups included every
employee at the Tech Center, it necessarily included numerous high ranking officials as
detailed in paragraph 8 of my declaration.

48. Further, because the voice mail backups included every employee at the Tech
Center, it necessarily included many employees at the Tech Center with security
clearances for varying levels of classified information, including information that may
have been discussed in preserved voice mails.

49. In response to a discovery request for plaintiff's preserved voice mails, at
significant expense to the agency, I requested and Norte! performed a restoration in an
attempt to retrieve plaintiff's preserved voice mails. True and correct copies of
communications from Nortel dated June 5, 2007, and October 5, 2007 are attached hereto
as Exhibits 2 and 3.

50. Nortel informed me that one of the backup tapes was unreadable. From the
remaining tape, Nortel restored four voice messages, recorded in digital format, and
provided them to me. J provided copies of the messages in .wav file format to Assistant
United States Attorney Karen Shelton for production to Plaintiff. I did not alter, delete or
remove any voice messages transmitted by Norte] in any manner.

51. In response to paragraphs 20 and 21 of plaintiff's declaration, and at the request
of the plaintiff in his letter of April 27, 2004 (attached to plaintiff's declaration as
Exhibit-A), Plaintiff's laptop and desktop computers, as well as the contents of his office,
were preserved and inventoried on or about May 11, 2004, At that time, Tech Center
employee Carl Henry created a CD which I believed was a full copy (“mirror image”) of
each Hard Disk Drive (“HDD”) for the laptop and desktop computers assigned to
Stephen Omogbehin while he was employed at the Tech Center. He provided this CD to

Gary Aibert.
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52. Thereafter, in response to plaintiff's discovery requests in this district court
litigation, Gary Albert gave me the CD which Carl Henry created, which I believed to be
the mirror image copies of Plaintiff's HDDs. The CD was copied and J gave the CD to
AUSA Jafer Aftab for production to the Plaintiff.

53. In preparing my declaration and in responding to Plaintiff's declaration, J asked
Gary Albert to confirm that full mirror images of Plaintiff's two HDDs were on the CD.

I reviewed the CDs with Gary Albert and Carl Henry, and Carl Henry stated that the CD
only contained Lotus Notes files. Thereafter, I took possession of Stephen’s laptop,
which had been preserved, and asked Carl to immediately make a full mirror image of the
laptop HDD. 1 will provide copies of the AUSA as soon as the imaging is complete.

54. Twas unable to locate Stephen’s desktop computer to have a mirror image of that
made as well. I instructed Gary Albert to continue looking for the desktop computer.
Gary has since informed me that the desktop computer has already been salvaged, that is,
sent to a contractor for destruction.

—
Qe es

Jay M. Fox, Agency Counsel

William J. Hughes Technical Center

Federal Aviation Administration

Department of Transportation

patep: ¢/2 s/o
Case 1:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 15 of 39 PagelD: 603
Case 1:06-cv-04581-JEI-JS Document32-5 Filed 04/25/2008 Page 7 of 1

DECLARATION OF CARL HENRY JR.

I, Carl Henry Jr., declare under penalty of perjury that the following statements
are true to the best of my knowledge, information provided to me, and/or belief:

1. lam employed as a compuier specialist at the William J. Hughes Technical
Center (“Tech Center”), and I was employed in thal same capacity at the time Stephen
Omogbehin was employed at the Tech Center.

2. in 2004, one of my assigned duties as a computer specialist was to assist Tech
Center security with preservation of information from employee computers.

3. In or about May of 2004, I downloaded the Lotus Notes data directory files from
each Hard Disk Drive (“HDD”) for the laptop and desktop computers assigned to
Stephen Omogbehin while he was employed at the Tech Center, and saved the
information to CDs.

4, i did not download an entire mirror image of the laptop and desktop computers.
5, The aforementioned CDs were provided to Gary Albert.

6. In preparing for this declaration, Agency Jay Fox asked me to confirm that | had
downloaded an entire mirror image of Stephen Omogbehin’s laptop and desktop HDDs.
IT reviewed the CDs and informed him that I had only downloaded the Lotus Notes data
directory files. Thereafter, Agency Counsel Jay Fox asked me to immediately make an
entire mirror image of Stephen Omegbehin’s laptop computer, which he had in his
possession. | am currently in the process of downloading that information and will
provide it to Agency Counsel when the task is complete.

77, wa
Carl Henry Jr. A

William J. Hughes Technical Center
Federal Aviation Administration

Department of Transportation

DATED: 24¢AfROY
Case 1:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 16 of 39 PagelD: 604
Case 1:06-cv-04581-JEI-JS Document 32-6 — Filed 04/25/2008 Page 1 of3

DECLARATION OF CLEVE LASWELL

I, Cleve Laswell, declare under penalty of perjury that the following statements are true
to the best of my knowledge, information provided to me, and/or belief:

1. I am a contract employee of Apptis assigned to the William J. Hughes Technical Center
(“Tech Center”) as the Enterprise Data Center Project Manager.

2. At the time Stephen Omogbehin was employed at the Tech Center, 1 was a contract
employee of Apptis assigned to the Tech Center as the Lotus Notes Administrator.

3. As the former Lotus Notes Administrator, I have knowledge of the information
technology operations at the Tech Center related to the Lotus Notes email system used by Tech
Center employees.

4, Email users at the Tech Center operate their accounts through a program known as Lotus
Notes, which is a network based email system. Each employee has their own individual account
on the Lotus Notes network. There are nearly 3000 federal and contract employees at the Tech
Center.

3. ‘There are two methods in which employee email is retained — (a) Lotus Notes backups
and (b) employee archiving.

6. Email accounts are backed-up nightly by the Information Technology staff. This
includes email and electronic calendar information currently on the Lotus Notes server. The
nightly backup does not include materia! that has either been deleted or that has been archived by
the employee in the twenty-four hour period between that last nightly backup.

7. The nightly Lotus Notes backup is recorded to an electronic medium which includes
every employee at the Tech Center, including numerous high ranking officials such as the Tech
Center Director, the Federal Aviation Administration’s (“FAA”) Chief Scientist, and the FAA’s
Director of Airport and Aircraft Safety.

8. Additionally, many employees at the Tech Center have security clearances for varying
levels of classified information, including information contained in email and attachments to
email.

9. Email is also retained by permanently moving email and electronic information from the
employee's Lotus Notes account to either the hard disk drive (“HDD”) on the computer assigned
to the employee for their use, or some other HDD, such as a shared HDD, where such
information is stored as an archive.

10. The archive is personal to the user. It is not backed-up as part of the Lotus Notes backup
process.

 
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Case 1:06-cv-04581-JEI-JS Document 32-6 Filed 04/25/2008 Page 2of3

11. The archiving of information is necessary because of size limits for Lotus Notes
accounts, which was limited to 80 megabytes of information (at the time Stephen Omogbehin
was employed) for each employee's account. Once this limit is reached the employee must
either delete information, or move information to the personal archive.

13. When Lotus Notes is installed on an employee’s computer, automatic archiving of
electronic information to the employee computer’s HDD for information over thirty (30) days
old is set as the default. An employee may thereafter adjust the default settings, such as
increasing the number of days for automatic archiving, or changing the location of the stored
archived information.

14. When a Lotus Notes backup tape is loaded onto the Lotus Notes system, all employee
accounts stored on the tape are accessible. An individual employee's email account (and all tts
contents) can then be restored by downloading that person's account from the tape onto a CD.

15, In 2097, during this district court litigation, Gary Albert requested that I restore the email
accounts from the Lotus Notes backup tapes (from the nightly backup of April 22, 2004), for a
number of employees, for the dates September 7, 2003, to April 27, 2004. These employees
included Gary Albert, Shelley Yak, Sue Lake, Bob Linn, Cindy Keiser-Ellis, Allan Cannizzaro,
Ron Smith, Tom Christian, and Stephen Omogbehin.

16. restored the Lotus Notes backup account for Gary Albert, and downloaded them to CD.
i did not delete or remove any electronic information from either source in any manner,

17. [restored the Lotus Notes backup account for Shelley Yak, and downloaded them to CD.
I did not delete or remove any electronic information from either source in any manner.

18. L restored the Lotus Notes backup account for Sue Lake for Sue Lake, and downloaded
them to CD, J did not delete or remove any electronic information from either source in any
manner,

19, I restored the Lotus Notes backup account for Robert Linn, and downloaded them to CD.
I did not delete or remove any electronic information from either source in any manner.

20. restored the Lotus Notes backup account for Cindy Keiser-Ellis, and downloaded them
to CD. I did not delete or remove any electronic information from either source in any manner.

21. I restored the Lotus Notes backup account for Alan Cannizzaro, and downloaded them to
CD, I did not delete or remove any electronic information from either source in any manner.

22. ‘| restored the Lotus Notes backup account for Thomas Christian and downloaded it to
CD. 1 did not delete or remove any electronic information in any manner.

23. I restored the Lotus Notes backup account for Ron Smith and downloaded it to CD, I did
not delete or remove any electronic information in any manner.

 
Case 1:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 18 of 39 PagelD: 606
Case 1:06-cv-04581-JEI-JS Document 32-6 Filed 04/25/2008 Page 3 of 3

24. —_‘ I restored the Lotus Notes backup account for Stephen Omogbehin and downloaded it to
CD. I did not delete or remove any electronic information in any manner.

25. When | attempted to download Stephen Omogbehin’s archived emails from his laptop
computer I realized he had not archived his emails on the hard disk drive. Instead, he had
archived his information to a shared HDD on the larger system network.

26. However, in 2005, I had previously printed a copy of all of Stephen Omogbehin’s Lots
Notes emails, both from the backup tape that included his inbox, as well as his archived emails
that were stored on the shared HDD.

27. Approximately 5000 pages of Stephen Omogbehin’s printed email material (Lotus Notes
backup and archived) were provided to Agency Counsel Jay Fox. This estimate is based upon
the amount of produced printed material, which filled a box used for a standard case of copy

paper.

28. The shared HDD in which Stephen Omogbehin archived his information is no longer
available. It was recycled as part of routine information technology maintenance procedures.

29. In 2007 during the district court litigation, Gary Albert also asked me to download the
archived emails of SheHey Yak, Sue Lake, Bob Linn, Cindy Keiser-Ellis, and Alan Cannizzaro,
Because Thomas Christian and Ron Smith had left their employment by that time, their hard disk
drives had been recycled and no archived information existed for them.

30.  Inorder to download the archived emails, 1 was given network access to a shared hard
disk drive, where the above employees had placed their email archive folders, 1 downloaded the
email folders provided to CDs for each of the individual employees.

31, All of the information downloaded to CDs (in Lotus Notes format) were provided to Gary
Albert.

DATED: 4/2 s/z oo f Lhe A: poor

Cleve Laswell,

Enterprise Data Center Project Manager
William J. Hughes Technical Center
Federal Aviation Administration
Department of Transportation

 
Case 1:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 19 of 39 PagelD: 607

Exhibit 7
Case 1:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 20 of 39 PagelD: 608
Geses.06-cv-04581-JEI-JS Document18 Filed 08/03/2007 Page i of 4

3 U.S, Department of Justice

United States Attorney

District of New Jersey
Civil Division

   

 

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fax: (973} 297-2010

e-mail: Jafer Afiab@usdof.gev

3 August 2007

ELECTRONICALLY FILED

Hon. Joel Schneider, U.S.M.J. °
Mitchell H. Cohen Federal Courthouse
One John F. Gerry Plaza

400 Cooper Street

Camden, NU 08101.

Omogbehin v, Cino
Civil No. 06-4581

Your Honor:

Please accept this letter brief, Declaration of Shelley Yak with Exhibit and
attached letter to plaintiff, in opposition to plaintiffs motion to compel. There are
two points. First, defendant has mooted plaintiffs request for the production of
archived e-mail, because it has undertaken a significant effort to recover and
produce the archived e-mail of the other employees and has already produced in
paper form plaintiffs archived e-mail over two years ago. See Decl. of Shelley Yak;
see also Ex. A attached thereto. Second, plaintiff has moved to compel on
grounds that were not previously raised, in violation of Local Civil Rule 37,1.
Accordingly, defendant sent a letter, attached hereto, to plaintiff seeking
compliance therewith and advising plaintiff that defendant has nevertheless

complied with plaintiffs demands.

The only properly raised issue for this Court is plaintiffs demand for the
production of archived e-mail from a backup. Defendant submits that this issue is
moot. Defendant undertook the significant effort to recover the archived e-mail
and has now produced it in the requested digital format for the other four
employees. As represented to this Court by plaintiff and defendant in the
discovery conference, with regard to plaintiffs archived e-mail, defendant
produced plaintiffs archived e-mail in paper form two years ago and plaintiff
reviewed it in preparation for the administrative hearing. Nevertheless, plaintiff's
archived e-mail is unavailable. At the time of his termination, plaintiff requested
that his laptop be preserved. This request was honored. However, plaintiff, unlike
other employees, stored his archived e-mail on a network drive. While the
archived e-mail was produced prior to the administrative hearing in paper form,
the network drive (upon which plaintiff s archived e-mail) was erased,
inadvertently erasing plaintiffs archived e-mail. Thus, defendant cannot produce
plaintiffs archived e-mail in digital form. Plaintiff and defendant alike only have
resort to the paper form of plaintiff's archived e-mail.
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Case 1:06-cv-04581-JEI-JS Document18 — Filed 08/03/2007 Page 2 of 4

Accordingly, this Court should determine that plaintiff's motion to compel
the production of archived e-mail is moot.

Respectfully submitted,

CHRISTOPHER J. CHRISTIE
United States Attorney

éS/ Jafer Aftab

By: JAFER AFTAB
Assistant U.S. Attorney

Attachments
Case 1:06- die. JEI-JS Document 63-2 Filed 07/29/09 Page 22 of 39 PagelD: 610
ge = Filed 08/03/2007 Page 3 of 4

at U.S, Department of Justice }

United States Attorney f

District of New Jersey (¢
y

Civil Division

 

 

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Newark, New Jersey 07102 telephone: (973) 645-2892
fax: (973) 297-2010

e-mall: Jafer Aftabg: oh gov

VIA FEDEX & gh
23 July 2007

Dennis L. Friedman, Esq. s

1515 Market Street, Suite 714 ¥ ¥

Philadelphia, PA 19102-1981 > O&

dy

- / v
Omogbehin v. Cino wry
Civil No. 06-4581 ye,
¥

This letter serves as an effort to resolve the ongoing discovery dispute
relating to plaintiffs first set of interrogatories and requests for documents. Please
be advised that with regard to plaintiff's interrogatory number six, the response
and documents provided therewith are the only responses possible from the
agency -- that is, there is no official policy. The previous responses and production
of documents provide the backup practice.

Counsel:

Furthermore, with regard to plaintiffs requests one through five to produce
archived e-mail, the outstanding issue discussed at the discovery conference, the
agency undertook a significant effort (nearly 80 hours overall) to produce the
archived material in the digital format that your client requested. The agency
could have avoided these costs by producing this information in a paper spool
printout, as previously provided at the administrative hearing, and reserves the
right to seek costs in opposition to the motion to compel. Nevertheless, enclosed
herein are the archived e-mail in the requested format with the hope that your
client consider withdrawing the motion to compel. .

Additionally, with regard to request nine to produce strategic planning
document, enclosed in our responses to the second set of interrogatories and
request for documents please find on the compact disc labeled "Response #1,"
strategic planning documents. Note that these were not previously produced,
because they did not match the request as written -- they are not "submitted" or
“approved by the FAA Tech Center." With regard to request ten, the previous
agency response was responsive.

At your earliest opportunity, please advise me regarding your position
regarding the archived e-mail, the issue that remains outstanding from the
discovery conference. Also, please advise regarding the other outstanding issues
included in the motion to compel though not previously raised in the discovery
conference, so that we may attempt to resolve them pursuant to Local Civil Rule

37.1.
Case 1:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 23 of 39 PagelD: 611
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Sincerely,

CHRISTOPHER J. CHRISTIE
United States Attorney

Oo
By: JAFER AFTAB
Assistant U.S. Attorney
Case 1:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 24 of 39 PagelD: 612
Case 1:06-cv-04581-JEI-JS Document 18-2 Filed 08/03/2007 Page 1 of 3

CHRISTOPHER CHRISTIE
United States Attorney
By: JAFER AFTAB
Assistant U.S. Attorney
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Newark, NJ 07102
Tel. 973.645.2892
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Jafer.Aftab@usdoj.gov
UNITED STATES DISTRICT COURT

DISTRICT OF NEW JERSEY

 

Stephen Omogbehin, HON. JOSEPH E. IRENAS, U.S.D.J.
Plaintiff, Civil Action No. 06-4581
Vv. DECLARATION OF SHELLEY YAK
WITH EXHIBIT

Maria Cino, Acting Secretary,
Department of Transportation,

Defendant

 

 

|, Shelley J. Yak, make this Declaration in support of the defendant’s response to

plaintiffs motion to compel, and state the following:

1. | am the Manager of Center Operations at the William J. Hughes Technical Center

(“Tech Center’), located adjacent to the Atlantic City International Airport.

2. | was the selecting official when plaintiff was hired as an employee at the Tech

Center. His probationary employment began on September 7, 2003.

3. | was the deciding official when plaintiff was removed from service.

His removal date was April 23, 2004.
Case 1:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 25 of 39 PagelD: 613
Case 1:06-cv-04581-JEI-JS Document 18-2 Filed 08/03/2007 Page 2 of3

4. At the request of the Assistant United States Attorney, e-mails were produced in

response to Plaintiffs first request to produce documents numbers 1 through 5.

5. In order to process these requests, (1) email system (known as Lotus
Notes) backups were restored, (2) archived email was isolated within the date range of
plaintiff's term of employment, and (3) ail electronically produced material was

personally reviewed by me with the assistance of Tech Center counsel.

6. The aforementioned personal! review comprised approximately 40 hours of duty

time.

7. Prior to these requests, on August 30, 2005, approximately 5000 pages of plaintiff's
e-mail was produced in response to discovery requests made by plaintiff during the
EEOC administrative proceedings (see Tech Center counsel's letter attached as Exhibit

A).
Under penalty of perjury, | declare that to my knowledge the above is true.

Executed: 1 August 2007
?06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 26 of 39 PagelD: 614
Case t GSE 1:06-cv-04581-JEI-JS Document 18-2 Filed 08/03/2007 Page 3 of 3

Q

U.S. Department William J. Hughes Atlantic City

Of Transportation Technical Center International Airport
. . New Jersey 08405

Federal Aviation Office of the Center Counsel, ACT-7 (609) 485-7087

Administration Jay M. Fox (609) 485-4920 (fax)

August 30, 2005

Kristen D. Alden, Esquire

Passman & Kaplan, PC

1090 Vermont Avenue NW, Suite 500
Washington, DC 20005

- Re: Omogbehin v. Mineta
EEOC Hearing No. 170-2005-00444x

Dear Ms. Alden:

Attached please find the Agency's Response to Complainant's First Request for
Discovery.

The response includes a box containing approximately 5000 pages of requested
emails. Given the voluminous response to your client’s document request, | ask
that you identify in advance any documents and/or emails which you plan (or
may plan) to mark at depositions or the hearing.

Finally, if you have not already done so, the Agency is still awaiting responses to
the short request forwarded on July 22.

Very Truly Yours,

Jay M. Fox
Office of Center Counsel

JMF/bm
Attachments
Case 1:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 27 of 39 PagelD: 615

Exhibit 8
Filed 07/29/09 Page 28 of 39,PagelID: 616

United States Department of Justice
United States Attorney

District of New Jersey

Civil Division

 

 

402 E, State St, Room 430 general number: (609) 989-2190
Trenton, New Jersey 08608 telephone: (609} 989-0562
fax: (609) 909-2360

e-mail: Karen.Shelton@usdoj.gov

April 29, 2008

Dennis L. Friedman
1515 Market Street
Philadelphia, PA 19102-1907

Re: Omogbehin v. Cino, CV No. 06-4581
Dear Mr. Friedman:

Enclosed please find DVDs (2) which contain mirror images of the contents
of your client's laptop computer. Your copy is entitled "set 1"; I have retained a
copy entitled "set 2". As stated in Defendant's Opposition to Plaintiffs Motion to
Compel, Defendant believed that the discs already produced to Plaintiff contained
this information. Upon receipt of your motion and in reviewing statements made
by your client in his declaration, the discs were checked and Defendants realized
at that time that only the Lotus Notes data from the laptop had been downloaded
and produced. Accordingly, Defendant now produces the full mirror images of
the laptop consistent with its discovery obligations. As also stated in our
opposition, the desktop computer is no longer available; it has been salvaged.

It has also come to my attention that on the original CD (which we now
know contained only the Notes files), as well as in the answer to request for
production #10 (1st request to produce), the bar codes for the two computers
(desktop tower and laptop) were reversed. The tower is listed as ROO535 and the
laptop is listed as ROO318. Instead, the Tower should be correctly listed as
RO0318 and the Laptop should be correcily listed as ROO535. The enclosed
DVDs have been labeled with the correct bar code.

Additional discovery material -- items ordered by the Court following the
conference on February 21, 2008 -- is being gathered and will be produced
shortly.

Respectfully,

CHRISTOPHER J. CHRISTIE

WA a Vet por

By: KAREN H, SHELTON
Assistant United States Attorney
Case 1:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 29 of 39 PagelD: 617

Exhibit 9
Case 1:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 30 of 39 PagelD: 618

United States Department of Justice
United States Attorney

District of New Jersey

Civil Division

 

 

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Trenton, New Jersey 08608 telephone: (609) 989-0562
Jax: (609) 909-2360

e-mail: Karen.Shelton@usdqj.gov

June 23, 2009

Dennis L. Friedman
1515 Market Street
Philadelphia, PA 19102-1907

Re: Omogbehin v. Cino, CV No. 06-4581
Dear Mr. Friedman:

Enclosed please find copies of the documents and 3 CDs you and your
client inspected at the FAA offices in the presence of agency counsel and requested
to be copied. One file on one CD apparently was unable to be copied due to
damage; that file is indicated on the enclosed sheet.

Respectfully,

RALPH J. MARRA, JR.
Acting United States Attorney

    

Assistant United States Attorney
Case 1:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 31 of 39 PagelD: 619

Exhibit 10
 

 

06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 32 of 39 PagelD: 620 —

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

STEPHEN OMOGBEHIN, - Case No. 06-4581 (JET)

Vv. . 1 John F. Gerry Plaza
4th & Cooper Streets
Camden, NJ 08101
MARTA CINO, Acting
Secretary, Department
of Transportation,

Defendant. . February 21, 2008
soe oe eee 10:31 a.m. .

TRANSCRIPT OF STATUS AND DISCOVERY CONFERENCE
BEFORE HONORABLE JOEL SCHNEIDER
UNITED STATES DISTRICT COURT MAGISTRATE JUDGE

APPEARANCES:

For the Plaintiff: DENNIS L. FRIEDMAN, ESQ.
1515 Market Street
Suite 714
Philadelphia, PA 19102

For the Defendant: . Office of the U.S. Attorney
By: KAREN H. SHELTON, ESQ.
402 East State Street #430
Trenton, NJ OQ8608

Audio Operator: . Sarah Kilborn

Proceedings recorded by electronic sound recording, transcript
produced by transcription service.

 

J&J COURT TRANSCRIBERS, INC.
268 Evergreen Avenue
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E-mail: Jjjcourt@optonline.net

(609) 586-2311 Fax No. (609) 587-3599

 
 

:06-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 33 of 39 PagelD: 621

11
wasn't in your papers. We're going to go to the letter. Okay?
‘So let's put aside the opening statement and closing statement.
Let's get to the issues in the letter starting on Page 1.

Okay? What's the first issue, Ms. Shelton, that's set forth in
the letter. :

MS. SHELTON: With respect to the general concerns,
Your Honor, or do you want to go to the specific concerns --

THE COURT: . Well -- |

MS. SHELTON: -- which begin on Page 2? >

THE COURT: Let's go to the specific issues. We've
done enough of the general concerns. What is the first issue?

MS. SHELTON: . With respect to the e-mails of
Christian and Smith, who I believe, Your Honor, are H.R.
personnel, the plaintiff had requested all e-mails for these
individuals, and because these people are H.R. personnel, not
every e-mail that goes to them or that they receive can be
produced to plaintiff for privacy concerns of the other
employees who are not parties to the case.

THE COURT: Have you produced all of the e-mails of
these two employees relating to the plaintiff?

MS. SHELTON: Yes, Your Honor, we have.

THE COURT: So is the plaintiff requesting e-mails
concerning other employees besides himself?

MS. SHELTON: Your Honor, I don't know what the

plaintiff is requesting beyond what we've produced.

J&J COURT TRANSCRIBERS, INC.

 

 

 
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12

THE COURT: All right. Mr. Friedman, why -- if the
defendant has represented that they've produced the e-mails
from Christian and Smith regarding the plaintiff, why isn't
that sufficient?

MR. FRIEDMAN: Because we strongly believe, based on
evidence that we already have, that there was spoliation of
evidence. The information that the agency claims it had
supplied to us came exclusively from the electronically stored
information. :

THE COURT: My question is what is -- you have asked
for the e-mails of Christian and smith regarding employees
other than the plaintiff. Is that correct?

MR. FRIEDMAN: Yes.

THE COURT: My question is what is the relevance of
| that information?

MR. FRIEDMAN: The relevance of this information is
to show, number one, that the agency engaged in spoliation of
evidence, because there's an absence of information relating to
Stephen Omo --

THE COURT: So you want to find out about every e-
mail that these two employees sent or received in order to
prove that there was spoliation?

MR. FRIEDMAN: No, that is not what we want to do.
We want to show that as Human Resources Specialists, that they

regularly work with the management officials who were involved

J&J COURT TRANSCRIBERS, INC.

 

 

 
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in the actual disciplining of employees. — These --

THE COURT: So can't you cover that at their
depositions?

MR, FRIEDMAN: Cover what?

THE COURT: This question, how they deal with
Management ~-—

| MR. FRIEDMAN: Cover what question?
THE COURT: How they deal with management personnel.
MR. FRIEDMAN: Yes. No, I think -- we haven't gotten

into the fact issues, because we're trying to get the documents —
first that have been withheld. And the purpose of getting the
documents is to show that Human Resources people regularly deal
with management personnel, and they communicate via e-mail, and
the e-mails show an interaction where they give advice, and
they have inquiries from management personnel as to how to deal
with problematic employees. There isa total absence of any e-
mail information relating Stephen Omogbehin, and we contend
that the backup tapes would show that these individuals
regularly communicated --

THE COURT: We're not talking about backup tapes
right now. We're not -- we're talking about e-mails of
Christian and Smith. —

MR. FRIEDMAN: And that goes to the fundamental issue
of all of the information that they are supplying is coming

from the backup tapes.

J&J COURT TRANSCRIBERS, INC.

 

 
 

x B-cv-04581-JEI-JS Document 63-2 Filed 07/29/09 Page 36 of 39 PagelD: 624

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THE COURT: We'll get to that. We'll get to that.
Okay. The Court is prepared to rule on the first issue on Page
2 of the January 31st, 2008 letter, Subsection A. Plaintiff
has requested all e-mails of Christian’and Smith. The Court
denies that request as requesting irrelevant information.
Clearly, these employees, Christian and Smith, have to produce
their e-mails regarding the plaintiff. Ms. Shelton has
represented that whatever e-mails are available from these two
individuals, Christian and Smith, regarding the plaintiff have
been produced. They do not have to produce e-mails regarding

| employees other than the plaintiff, because they're irrelevant

 

to the issues in the case.

MR. FRIEDMAN: May I --

THE COURT: No, you not, Mr. Friedman. If plaintiff
wants to inquire of the dealings of Christian and Smith with
management personnel and what their general practice and
procedures were regarding communications with management
personnel, he can explore that at the depositions of Christian
and Smith. Next issue. We're not going back. We're going
forward. Next issue.

MR. FRIEDMAN: Your Honor, before we get to the next
issue, you're making a ruling. It is my understanding that
this is a pre-motion conference and we are -- we have not even
filed our motion papers.

THE COURT: Mr. Friedman, local rules provide that a

J&J COURT TRANSCRIBERS, INC.

 

 
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CERTIFICATION

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We, PAT REPKO and KIMBERLY UPSHUR, court approved

transcribers, certify that the foregoing is a

transcript from the official electronic sound

correct

recording of the

proceedings in the above-entitled matter, and to the best of

our ability.

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PAT REPKO

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~ Exhibit 11
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United States Department of Justice
United States Attorney

District of New Jersey

Civil Division

 

 

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July 27, 2009
Dennis L. Friedman
1515 Market Street
Philadelphia, PA 19102-1907

Re: Omogbehin v. Cino, CV No. 06-4581
Dear Mr. Friedman:

In response to various assertions made in your motion for spoliation, I
made inquiries of agency counsel regarding the production of email made prior to
my appearance in this case. As you know, Defendant produced email on CDs to
Plaintiff in 2007. Unfortunately, Defendant's prior counsel did not retain copies of
those CDs for the U.S. Attorney's files, although agency counsel retained the
source files from which the CDs were produced.

Following discussions with the agency regarding the 2007 production and
your motion, I learned that the archived email which was produced by Defendant
in 2007 only contained email through April 23, 2004, rather than through April
27, 2004. Apparently, prior counsel for Defendant determined that only email
through Plaintiffs term of employment - which ended on April 23, 2004 - were
relevant to the litigation, and therefore only produced emails through that date.

However, the agency had, in fact, preserved and retained other archived
email from the same source files - including email through April 27, 2004 for
certain witnesses. In response to this information, I requested another search for
email archives from the hard drives of the remaining witnesses. The previously
preserved archives through April 27 and the recently acquired archives through

_ April 27 are now produced herein in CD format. I have also enclosed declarations
of the persons responsible for producing the CDs regarding the method of
production.

Respectfully,

RALPH J. MARRA, JR.
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By:

Assistant United States Attorney
